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UNITED STATES DISTRICT COURT SOUTHERN

 

DISTRICT OF NEW YORK
BRENDON NELSON, Case No.: 21-CV-777
[ADDING]
APRIL MILLER, (BY MOTION TO
INTERVENE AS PLAINTIFF) MOTION FOR LEAVE TO ENTERVENE AS
PLAINTIFF
Plaintiff,
VS.
ROBINHOOD FINANCIAL LLC;
ROBINHOOD SECURITIES LLC:
ROBINHOOD MARKETS INC.,
Defendant

 

 

MOTION FOR LEAVE TO INTERVENE AS PLAINTIFF

AND NOW COMES, April Miller pro-se, with a MOTION FOR LEAVE TO INTERVENE AS
PLAINTIFF pursuant to Rule 24 of the Federal Rules of Civil Procedure in the Case No.: 21-cv-777
Cl- Plaintiff inserts the follow interests in this claim and a Brief in Support of this motion is attached:

i. The Preposed Intervenor is entitled to intervene in this lawsuit by right.

2. The Proposed Intervenor has a legal standing for intervention.

3. ‘The Proposed intervenor application for invention is timely.

4. The Proposed Intervener interest is not adequately represented by existing parties.

5. The Proposed Intervenor is an individual investor in the stock market.

6. The Proposed Intervenor has a financial stake in the outcome of this case.

7. The Proposed Intervenor suffered a financial loss in violation of SEC rules as stated in original claim.

8. The complaint in question has not yet gone to trial.

MOTION FOR LEAVE TO INTERVENE AS PLAINTIFF - I

 

 

 
 

 

 
 

 
 

 

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$106.51 (20.65%) Today

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Shares Market Value
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Today's Volume

50,441,714

 

You can close out your position in this stock,
but you cannot purchase additional shares.

 

     

 
 

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Shares Nlarket Value
0.126207 $29.88
Average Cost Fartrolie Diversity
$332.79 73.27% C,

‘Today's Returr

-$13.98 (-31.87%)

Total Reburr
~$12.12 (-28.85%)

 

Statistics
Today's Volume
50,420,506

 

You can close out your position In thie stock,
but you cannot purchase acdiditional shares.

 

     

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